                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




FEDERAL TRADE COMMISSION, STATE
OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,
               Plaintiffs,
        v.                                                    Case No. 1:22-CV-00828
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
               Defendants.



                                           ORDER

       This matter is before the Court on Plaintiffs’ Motion to Set Initial Pretrial Conference

[Doc. #82]. The Court has considered that request and the related briefing. However, the

Court notes that there are pending Motions to Dismiss that could potentially result in dismissal

of all of the claims in this case, or that could substantially narrow the claims requiring

discovery. Those Motions to Dismiss have only recently been referred to the District Judge.

In the circumstances, the Court concludes that it would be premature to conduct an Initial

Pretrial Conference and begin discovery while the District Judge has those issues under




      Case 1:22-cv-00828-TDS-JEP Document 139 Filed 04/24/23 Page 1 of 2
consideration. In the circumstances, a short stay of discovery is appropriate in the interests of

justice and in light of the burden on the parties and the Court of extensive discovery prior to

determination of which claims, if any, will actually proceed. Of course, the District Judge can

choose to refer the case for setting of an Initial Pretrial Conference while the Motions to

Dismiss are under consideration, if he concludes on preliminary review that is it unlikely that

the Motions to Dismiss would be granted in full, or if he otherwise concludes at any point that

it would be helpful for discovery to commence. In addition, the Court would not intend to

delay discovery in light of the status or proceedings of the parallel multi-district litigation,

1:23MD3062, since the present case can and should proceed once the Motions to Dismiss are

addressed. Therefore, the Motion to Set Initial Pretrial Conference will be denied at this time,

and the Initial Pretrial Conference will be set on direction from the District Judge or following

resolution of the Motions to Dismiss, whichever is first.

       IT IS HEREBY ORDERED that the Motion to Set Initial Pretrial Conference [Doc.

#82] is DENIED at this time, and the Initial Pretrial Conference will be set on direction from

the District Judge or following resolution of the Motions to Dismiss, whichever is first.

       This, the 24th day of April, 2023.

                                                        /s/ Joi Elizabeth Peake
                                                     United States Magistrate Judge




      Case 1:22-cv-00828-TDS-JEP Document 139 Filed 04/24/23 Page 2 of 2
